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Attorneys for Plaintiff

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1 COURT
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CR22-01545 TUC-RM(EJM)

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America,

Plaintiff,
vs.
Aaron Thomas Mitchell,
Defendant.

 

 

 

THE GRAND JURY CHARGES:

carry away, and hold for ransom and reward and otherwise a person, a minor victim. In
the commission and in furtherance of the offense, the minor victim was willfully
transported in interstate and foreign commerce, the defendant traveled in interstate and
foreign commerce, and used any means, facility, and instrumentality of interstate and
foreign commerce, to wit: a vehicle. At the time of the offense, the minor victim had not

attained the age of 18 years, and the defendant had attained such age and is not a parent,

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INDICTMENT
Violation:
18 U.S.C. §§ 1201(a)(1) and (g)
‘(Kidnapping of a Minor)
(UNDER SEAL)

WaT CASE

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COUNT 1
On or about April 25, 2022, in the District of Arizona, the defendant, AARON
THOMAS MITCHELL, did unlawfully seize, confine, inveigle, decoy, kidnap, abduct,

 
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grandparent, brother, sister, an aunt, an uncle, and an individual having legal custody of

the minor victim. All in violation of Title 18, United State Code, Sections 1201(a)(1) and

(g).

GARY M. RESTAINO
United States Attorney
District of Arizona

/S/

A TRUE BILL

/S/

FOREPERSON OF THE GRAND JURY
Dated: July 13, 2022

 

REDACTED FOR
PUBLIC DISCLOSURE

 

 

CARIN C. DURYEE
Assistant U.S. Attorney

United States of America v. Aaron Thomas Mitchell
Indictment Page 2 of 2

 
